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                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

-vs-                                                                     Case # 3:08cr83-004LAC

CORPORATE HORIZONS, INC.


                                                                        Defendant’s Attorney:
                                                                        Ronald W. Johnson (Retained)
                                                                        438 East Government Street
                                                                        Pensacola, Florida 32502
___________________________________
                        JUDGMENT IN A CRIMINAL CASE

Venkatesh Aelogonda, acting on behalf of the defendant, pled guilty to Counts One and Two of the
Indictment on October 22, 2008. Accordingly, IT IS ORDERED that the defendant is adjudged
guilty of such counts which involve the following offenses:
        TITLE/SECTION                             NATURE OF                 DATE OFFENSE
           NUMBER                                  OFFENSE                   CONCLUDED            COUNT

 18 U.S.C. §§ 371 and                Conspiracy to Commit Visa Fraud       September 16, 2008      One
 1546(a)

 18 U.S.C. §§ 1956(a)(1)(A)(i)       Conspiracy to Commit Money            September 16, 2008      Two
 and (B)(i), and (h)                 Laundering

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

                                                               Date of Imposition of Sentence:
                                                               January 29, 2009

                                                               s /L.A. Collier
                                                               LACEY A. COLLIER
                                                               SENIOR UNITED STATES DISTRICT JUDGE

                                                               February 2, 2009
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                                       CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Clerk, U.S.
District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                     Restitution

               $200.00                                      $1.00                         $0




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $200.00 is imposed and is to be paid immediately.

.                                                          FINE

A fine of $1.00 is imposed.


                                                   FORFEITURE

Preliminary Order of Forfeiture entered on January 29, 2009.
